AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 10/12)
                                                   Print/Publish to .pdf    Save As...                                                                                       Reset
                    Case 1:18-cv-01204-JTN-ESC ECF No. 2 filed 10/26/18  PageID.8  Page 1 of 1

                        SUMMONS IN A CIVIL ACTION
      UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                     LARRY SEVENSKI
                                                                                                                 Case No. 18-1204
                                                                                                                 Hon.
                                                                                               TO: Brock Artfitch
                                  v.
                                                                                          ADDRESS: c/o Michigan State Police
                     BROCK ARTFITCH




                                                                                                     PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
A lawsuit has been filed against you.

YOU ARE HEREBY SUMMONED and required to serve
upon plaintiff, an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure within
  21        days after service of this summons on you (not                                           TRACEY CORDES, CLERK OF COURT
counting the day you received it). If you fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.
The Court has offices in the following locations:

   399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
   P.O. Box 698, 229 Federal Building, Marquette, MI 49855                                                                                                         Insert Today's Date
   107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
   113 Federal Building, 315 W. Allegan, Lansing, MI 48933


                                                                                                       By: Deputy Clerk                                                    Date


                                                                                  PROOF OF SERVICE
This summons for                                         Brock Artfitch                                              was received by me on                                             .
                                             (name of individual and title, if any)                                                                               (date)


 I personally served the summons on the individual at
                                                                                                                            (place where served)
on                                .
                      (date)


  I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                            (name)

of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                          (date)


  I served the summons on                                                                                                         , who is designated by law to accept service
                                                                            (name of individual)

of process on behalf of                                                                                                                        on                                         .
                                                                            (name of organization)                                                                (date)


  I returned the summons unexecuted because                                                                                                                                            .
  Other (specify)                                                                                                                                                                     .

      My fees are $                                       for travel and $                                           for services, for a total of $                                    .
I declare under the penalty of perjury that this information is true.
Date:
                                                                                                                                       Server’s signature

Additional information regarding attempted service, etc.:
                                                                                                                                Server’s printed name and title



                                                                                                                                     Server’s address
